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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

 In the Matter of the Petition

                 of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,
                                                         Civ. No. 24-00941-JKB
                 and
                                                         IN ADMIRALTY
 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,

 for Exoneration from or Limitation of
 Liability



          JOINT STATUS REPORT CONCERNING DEPOSITION LOGISTICS

       Petitioners and Claimants (hereinafter collectively the “Parties”), through undersigned

counsel, submit this Joint Status Report in response to this Court’s Order dated April 16, 2025

(ECF No. 503).


Deposition Location

       Heretofore, the Parties have disagreed on the location at which the Petitioners’ shore-based

employees must appear for deposition. The disagreement has been the subject of extensive

briefing and two court orders (ECF Nos. 489 and 500). However, following the suggestions of

Judge Bredar (ECF No. 500 at 6) and Magistrate Judge Sullivan (ECF No. 503 at 1), the Parties

have reached an agreement concerning the disputed witnesses. The agreement is set out in the

table below:
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       Concerning the depositions of the individuals who were identified by name in the

Claimants’ motion:

            Witness                          Location              Anticipated Timing

            Balaji V.                        London                         June

     Capt. Ravi Sekhar BV                    London                         June

        Vishal C. Prabhu                     London                         June

     Capt. Melroy D’Souza                    London                         June

        Rajesh Inigo K.                      London                         June

        R. Karthik Nair                      London                         June


       Concerning the depositions of the former crew members of the DALI who were expatriated

from the United States after the allision:

            Witness                          Location              Anticipated Timing

           Babu Alan                         London                       May/June

      Madathilparambil                       London                       May/June
    Chandrasekharan, Shiju

   Subramanian Selvakumar                    London                      September

         Aviral Manihal                      London                       May/June

     Mahesh Balaji Ankade                    London                      September

       Maragasseri Rajan                     London                      July/August

          Kumar Sunil                        London                      July/August

 Dominic Peeris Dobus Peeris                 London                       Unknown

       Venu Sivalingam                       London                       Unknown

          Kashmiri Lal                       London                       May/June




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      Nadammal Shershad                         London                            May/June

       Antony Goodwin1                         Baltimore                                May

    Kumararaja Kuppuswamy2                     Baltimore                                May



        Concerning the depositions of other Synergy shore-based personnel who have not been

previously identified by name:3

             Witness                           Location                     Anticipated Timing

          Ajith Kumar                          Baltimore4                          June/July

       Phillip Jason Lewis                      London                             June/July

         Chetan Sharma                          London                             June/July

          Singh Yadav                           London                             June/July

      Jayesh Panayanthatta                      London                             June/July

          Dhurai Balaji                         London                            Unknown

       Ritika Choudhary                         London                             June/July

          S. Angarayan                          London                             June/July

     Yogananth Palanichamy                      London                             June/July


        The Parties have further agreed that U.S.-based court reporters (associated with the same

firm that has done the reporting for all depositions to date) will travel to London to record the



1
    Mr. Goodwin was permitted to leave the country temporarily but is expected back in the United States
    within the next 30 days.
2
    Mr. Kuppuswamy was permitted to leave the country temporarily but is expected back in the United
    States within the next 30 days.
3
    Claimants reserve the right to identify additional witnesses to be deposed. The locations for those
    depositions will be determined on a case-by-case basis.
4
    This deposition will proceed in Baltimore unless otherwise agreed by the Parties.


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depositions listed above (and any others), and that any objections to the court reporters’

administration of the witness oath in a foreign jurisdiction are waived.


Scheduling

         The Parties have been working cooperatively on discovery. Nevertheless, the production

of documents by Petitioners has been challenging given the volume of documents involved and

related circumstances. Thus far, Petitioners have produced nearly 700,000 pages of documents.

They anticipate substantially completing their document production by May 30.

         To ensure that Claimants have a meaningful opportunity to receive and review all

responsive documents prior to the conclusion of fact discovery, the Parties jointly propose a

modest amendment of the Court’s Scheduling Order (ECF No. 438), subject, of course, to the

Court’s concurrence:5

    Current Deadline                            Subject                           Proposed Deadline

      July 16, 2025                          Fact Discovery                         August 29, 2025

      July 16, 2025         Rule 56 Motion Concerning Synergy Marine                August 29, 2025

     August 29, 2025             Claimants’ Rule 26(a)(2) Disclosures               October 13, 2025

     October 31, 2025           Petitioners’ Rule 26(a)(2) Disclosures            December 12, 2025

    November 21, 2025       Claimants’ Rebuttal Rule 26(a)(2) Disclosures           January 16, 2026

    February 27, 2026           Expert Discovery; Supplementation of                March 27, 2026
                                            Disclosures

    February 27, 2026             Submission of Joint Status Report                 March 27, 2026

      March 9, 2026                     Requests for Admission                        April 3, 2026


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     The Parties will file a Joint Motion to Continue Certain Deadlines. The Parties acknowledge that the
     depositions of several witnesses are currently anticipated to be taken after the proposed August 29,
     2025 close of fact discovery. The Parties are working together to resolve this issue and are hopeful
     they will be able to reach agreement for these depositions to be taken sooner, if at all.


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       The Parties propose that all other deadlines remain as set forth in ECF No. 438.


Remaining Issue of Dispute – Not for Immediate Resolution

       In view of Petitioners’ refusal to produce the witnesses listed above for deposition in

Baltimore, Claimants object to any later attempt by Petitioners to bring the individuals to the

United States to provide testimony, such as at the trial of this matter. Petitioners dispute the

characterization of their inability to require these witnesses to travel to the United States at this

time and disagree with any restrictions on their future ability to produce the witnesses for testimony

in the United States and expressly reserve their right to do so.

       This issue is not ripe for resolution at this time but is being presented here solely to flag

the issue for the Court.




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Respectfully submitted this 23rd day of April 2025.


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                                              Counsel for Petitioners, Grace Ocean Private Limited
                                              and Synergy Marine Pte Ltd.




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 23rd day of April 2025, a copy of the foregoing Joint

Status Report was served via the court’s CM/ECF system on all counsel of record.

                                                   /s/ David L. Reisman
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